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UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTR|CT OF M|CH|GAN

SOUTHERN D|V|SlON
JESS|E HARR|SON, Case No. 1:10-cv-00570
HON. JANET T. NEFF
Plaintiff,
v
CYNTH|A PARTR|DGE,

SANDRA GRANT, LOR| ENGN|ARK,
PATR|C|A CARUSO, JENN|FER GRANHOLM,
COUNTY OF WAYNE, UNKNOWN PARTIES

 

Defendants.

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PLA|NT|FFS’ BR|EF lN SUPPORT OF MOT|ON FOR LEAVE
TO FlLE FlRST AMENDED COMPLA|NT

 

i. iNTRoDucTioN

P|aintiff, Jessie 'Harrison, in this case involving defendants’ constitutional violations

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of 42 U.S.C. § 1983, has moved this court for leave to file a FirstAmended Comp|aint. The
First Amended Comp|aint drops Wayne County, (“Wayne”) and Jennifer Granholm from
the case caption and as defendants because these parties have no liability for the
plaintiff’s § 1983 claims. The original Comp|aint was filed in pro perand the 6th Circuit Court
of Appeals has indicated that the case would better served by the appearance of attorneys.
Harrison v. Michigan, 722 F.3d 768, 776 (6th Cir. 2013) cen‘. denied, 134 S. Ct. 1023, 188
L. Ed. 2d 119 (U.S. 2014).

The First Amended Comp|aint also includes additional details learned during the
investigation that has taken place in this case. No new theories or counts have been
added to the complaint. The plaintiff has dropped the conspiracy claim from the Amended
Comp|aint. A copy'of the proposed First Amended Comp|aint is attached to plaintiff’s

Motion for Leave as Exhibit A.

||. ARGUMENT
Fed. R. Civ. P. 15 governs the amendment of pleadings The court rule provides
for leave as a matter of course and provides for leave with the opposing party’s written
consent or leave from the court. The rule provides:
(a)(2) Other Amendments. ln all other cases, a party may amend
its pleading only with the opposing party’s written consent or
the court’s leave. The court should freely give leave when
justice so requires.
Generally, leave to amend is “freely given when justice so requires.” See,
Keweenaw Bay /ndian Cmty. v. State of Michigan, 11 F.3d 1341, 1348 (6th Cir.1993)

(quoting Fed.R.Civ.P. 15(a)). Leave to amend is particularly appropriate where the

amendment neither adds new parties or new claims. See, e.g., lnge v. Rock Financial

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Corp., 281 F.3d 613, 626 (6'h Cir. 2002). Denial may be appropriate, however, where
there is “undue delay, bad faith or dilatory motive on the part of the movant, repeated
failure to cure deficiencies by amendments previously allowed, undue prejudice to the
opposing party by virtue of allowance of the amendment, futility of the amendment, etc.”
Foman v. Davis, 371 U.S. 178, 182, 83 S.Ct. 227, 9 L.Ed.2d 222 (1962); See also, 3
Moore's Federal Practice § 15.14[1] (3d ed.19'97).

Ordinarily, delay alone, does notjustify denial of leave to amend. See, Sec. lns. Co.
v. Kevin Tucker & Assocs., /nc,, 64 F.3d 1001, 1009 (6th Cir.1995); See also Tefft v.
Seward, 689 F.2d 637, 639 n. 2 (6th Cir.1982) (“Delay that is neither intended to harass
nor causes any ascertainable prejudice is not a permissible reason, in and of itself to
disallow an amendment of a pleading.”).

lf a scheduling order has been issued by the court before an amendment is sought,
a court must determine whether the party seeking to amend its pleading has met the
standard provided in Rule 16(b) before it determines whether the amendment is proper
under Rule 15(a). Leary v. Daeschner, 349 F.3d 888, 909 (6th Cir. 2003). Under Rule 16,
“[a] schedule maybe modified only for good cause and with the judge’s consent.” Fed. R.
Civ. P. 16(b). And, “[t]he primary measure ofRule16's‘good cause’ standard is the moving
party's diligence in attempting to meet the case management order's requirements." lnge
v. Rock Financial Corp., 281 F.3d 613, 625 (6th Cir.2002) (quotation omitted). Under a
Rule 16 analysis, a court must also determine the potential prejudice to the non-movant,
Leary, 349 F.3d at 909.

ln this case the plaintiff has complied with the court’s scheduling order. The

scheduling order was amended by the court on February 12, 2014. The defendants have

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not been required to file answers yet, discovery has been stayed by the court, and plaintiff
has met all of the court’s deadlines currently.

Additiona|ly, defendants will not be prejudiced by the granting of plaintiff’s motion,
as the claims are the same and discovery should not change for the defendants With the
assistance of counsel, the claims stated in the original complaint are now clearer and
should allow for more concise responses

ln this case, there is no evidence of undue delay, bad faith or dilatory motive on the
part of the plaintiff. The amendment is sought to clarify the status of the parties and to add
new details to the facts portion of the complaint based on recent discovery. No prejudice
will be caused by allowing the amendment,

|ll. l CONCLUS|ON
For the foregoing reasons, plaintiff respectfully requests this Court to grant his

Nlotion for Leave and to enter an Order permitting the filing ofthe proposed FirstAmended

Comp|aint.
BOS & GLAZ|ER, P.L.C.
Attorneys for Plaintiff
Date: May 6, 2014 By: /s/ Bradlev K. Glazier

 

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